   1   Mark Brnovich
       Attorney General
   2   Firm State Bar No. 14000
   3
       Christopher J. Dylla
   4   Assistant Attorney General
       State Bar No. 027114
   5   Office of the Attorney General
   6
       2005 North Central Avenue
       Phoenix, Arizona 85004-1592
   7   Telephone: (602) 542-8389
       Facsimile: (602) 542-4273
   8   Email: christopher.dylla@azag.gov
   9
       Attorneys for the State of Arizona
        ex rel. Arizona Department of Revenue
  10
                             IN THE UNITED STATES BANKRUPTCY COURT
  11
                                IN AND FOR THE DISTRICT OF ARIZONA
  12

  13   In re:                                            Chapter 13

  14
       MARY ABIGAIL PLANTADO,                            Case No. 2:19-bk-15467-BMW
  15   SSN: XXX-XX-7127
                                                         OBJECTION TO CONFIRMATION OF
  16   DIONATHAN PLANTADO                                ORIGINAL CHAPTER 13 PLAN
       SSN: XXX-XX-1924
  17                                                     Docket No. 11
  18
                                         Debtors.

  19            The State of Arizona ex rel. Arizona Department of Revenue (“Department”) objects to
  20   the Original Chapter 13 Plan (“Plan”), filed by Mary A. Fajardo Plantado and Dionathan
  21
       Plantado (“Debtors”) on December 30, 2019, as follows:
  22
           1. The Department is the agency empowered and entitled to enforce Arizona tax laws and
  23

  24
       regulations, including but not limited to individual income taxes, transaction privilege taxes

  25   (“TPT’) and withholding taxes (“WTH”). A.R.S. §§ 43-208; 42-1004 et seq.; 43-101 et seq.
  26       2. Debtors are individuals residing in the State of Arizona and upon information and belief




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   1   are required to file and pay certain tax liabilities to the Department, including individual
   2
       income taxes. See A.R.S. §§ 43-301, 43-501.
   3
          3. The Department filed a proof of claim establishing a priority claim in the amount of
   4
       $10,984.63, and a general unsecured claim in the amount of $33.41. A true and accurate copy
   5

   6   of the Department’s Original Proof of Claim (“Claim”) dated December 30, 2019 is No. 6-1 on

   7   the Court’s Claims Register. In addition, the Department’s Claim indicates that the
   8
       Debtors have failed to file the tax returns indicated below (“Outstanding Returns”):
   9
                        Dionathan – 2011, 2012, 2013, 2014
  10
         Income
                        Mary – 2011, 2012
  11
         TPT            Unknown
  12
         WTH            Unknown
  13

  14
          4. As indicated in the Department’s Claim, the Debtors have failed to file all tax returns.
  15
       Signed, dated, and non-redacted copies of the returns may be sent to richard.graves@azag.gov,
  16
       which the Department will accept as filed on the date that they are received by the Attorney
  17

  18   General’s Office.

  19      5. The Department’s Claim is entitled to priority treatment pursuant to 11 U.S.C.
  20
       § 507(a)(8)(A). The Plan is required to provide payment in full of all priority claims, unless
  21
       the claimant agrees otherwise. 11 U.S.C. § 1322(a)(2). Here, the Department has not agreed to
  22
       different treatment than what Section 1322 requires and the Plan does not provide for the full
  23

  24   payment of the Department’s priority claim. Therefore, the Plan cannot be confirmed. 11

  25   U.S.C. § 1325(a)(1).
  26
          6. The Department’s Claim consists of liabilities that were either: (1) filed late and within


                                                       2


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   1   two years of the current bankruptcy; or (2) filed after the commencement of this bankruptcy.
   2
       These obligations are non-dischargeable under the “Two Year Rule” and the Department
   3
       requests that language be included within an order of confirmation to clarify as much. 11
   4
       U.S.C. §§ 523(a)(1)(B)(ii), 1328(a)(2), In re Savaria, 317 B.R. 395 (9th Cir. BAP, 2009). The
   5

   6   Department suggests the following:

   7              To the extent that the Arizona Department of Revenue’s non-dischargeable liabilities
                  are not paid in full through pro rata distributions under the Debtor's Plan or through
   8              direct payments outside of the plan, the unpaid balance along with postpetition and
                  post-confirmation interest shall not be discharged in accordance with 11 U.S.C. §§
   9
                  523(a)(1)(B)(ii) and 1328(a).
  10
          7. The Department reserves the right to amend, supplement, or withdraw its objection to
  11
       confirmation.
  12

  13                                                 Conclusion

  14             Any Chapter 13 plan proposed by the Debtors must provide for and eliminate the
  15
       objections specified herein in order to be reasonable and to comply with applicable provisions
  16
       of 11 U.S.C. § 1325. Since the Plan, as it is currently proposed, does not comply with 11
  17
       U.S.C. § 1325, the Plan cannot be confirmed.
  18

  19             WHEREFORE, the Department prays as follows:

  20             1.     That Confirmation of the proposed Chapter 13 Plan be denied, or in the
  21
       alternative, that the Plan be amended or modified to remedy the Department's objections
  22
       herein;
  23
                 2.     That failure of the Debtors to amend or modify the Plan to conform with the
  24

  25   Bankruptcy Code in a reasonable time, that the Court dismiss or convert this case to a Chapter

  26   7; and



                                                            3


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   1          3.      For such other and further relief as this Court deems proper.
   2
              RESPECTFULLY SUBMITTED this 18th day of February, 2020.
   3
                                                            MARK BRNOVICH
   4                                                        Attorney General
   5
                                                            /s/ CJD No. 027114
   6                                                        Christopher J. Dylla
   7                                                        Assistant Attorney General
                                                            Attorney for the State of Arizona
   8                                                          ex rel. Arizona Department of Revenue
   9

  10   ORIGINAL of the foregoing filed electronically this 18th day of February, 2020 with:

  11   United States Bankruptcy Court
       District of Arizona
  12

  13   COPY of the foregoing sent for mailing or by email* this 18th day of February, 2020 to:

  14   Jeff A. Biddle, Esq.*
       Biddle Law Firm, PLLC
  15   P.O. Box 12527
  16   Chandler, AZ 85248
       Email: jeffbiddlelaw@gmail.com
  17   Attorney for Debtors
  18   Edward J. Maney*
  19   101 North First Avenue, Suite 1775
       Phoenix, AZ 85003
  20   Email: service@maney13trustee.com
       Chapter 13 Trustee
  21

  22

  23

  24   /s/ R. Scott Graves
  25   BCE20-00017

  26




                                                       4


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